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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
___________________________________

UNITED STATES OF AMERICA                    :

vs.                                         :              19 Cr. 373 (PGG)

MICHAEL AVENATTI,                           :

            Defendant.             :
___________________________________


                 DECLARATION OF SCOTT A. SREBNICK, ESQ., IN
                 SUPPORT OF DEFENDANT MICHAEL AVENATTI’S
                MOTION TO DISMISS INDICTMENT FOR VINDICTIVE
               AND SELECTIVE PROSECUTION, AND FOR DISCOVERY

       I, Scott A. Srebnick, Esq., pursuant to 28 U.S.C. §1746, declare under penalty of perjury

that the following is true and correct to the best of my knowledge and belief:

       1.       I am a member of the law firm of Scott A. Srebnick, P.A., co-counsel for

Defendant Michael Avenatti in this case.

       2.       I submit this Declaration in support of Mr. Avenatti’s Motion to Dismiss

Indictment for Vindictive and Selective Prosecution, and for Discovery.

       3.       The exhibits attached to this Declaration are true and correct copies of the

documents they purport to be, subject, of course, to redactions. They were provided to

government counsel for their review pursuant to the Protective Order. The redactions have

been agreed to with the government.

       4.       Attached as Exhibit A is a Press Release issued by the United States Attorney’s

Office for the Southern District of New York on or about March 25, 2019.




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      5.       Attached as Exhibit B is a Travel Team Contract for California Supreme for

2010-13, produced by the government in discovery.

      6.       Attached as Exhibit C is a Travel Team Contract for California Supreme for

2016-17, produced by the government in discovery.

      7.       Attached as Exhibit D is a Memorandum from Jeffrey Auerbach to Michael

Avenatti, dated March 18, 2019, with attachments, produced by the government in discovery.

      8.       Attached as Exhibit E are various Nike text messages from 2016-17, produced

by the government in discovery.

      9.       Attached as Exhibit F is an exchange of text messages between Jeffrey

Auerbach and Gary Franklin in March 2018, produced by the government in discovery.

      10.      Attached as Exhibit G is an exchange of text messages between Jeffrey

Auerbach and Gary Franklin in October 2018, produced by the government in discovery.

      11.      Attached as Exhibit H is an e-mail exchange among Gary Franklin, Trent

Copeland, and Jeffrey Auerbach in January 2019, produced by the government in discovery.

      12.      Attached as Exhibit I are text messages from Jeffrey Auerbach to Gary Franklin,

produced by the government in discovery.

      13.      Attached as Exhibit J is a Memorandum from Jeffrey Auerbach to Michael

Avenatti, dated March 18, 2019, produced by the government in discovery.

      14.      Attached as Exhibit K is an exchange of text messages between Jeffrey

Auerbach and Gary Franklin in February 2019, produced by the government in discovery.

      15.      Attached as Exhibit L is an e-mail from Jeffrey Auerbach to Michael Avenatti,

dated March 1, 2019, produced by the government in discovery.



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      16.    Attached as Exhibit M is an e-mail from Jeffrey Auerbach to Michael Avenatti,

dated March 18, 2019, attaching a Complaint filed against Adidas, produced by the

government in discovery.

      17.    Attached as Exhibit N is a PowerPoint presentation prepared for Michael

Avenatti, dated March 2019, produced by the government in discovery.

      18.    Attached as Exhibit O are typewritten notes purportedly prepared by Nike

attorney Ben Homes from a meeting on March 19, 2019, produced by the government in

discovery.

      19.    Attached as Exhibit P are various Nike e-mails from 2016-17, produced by the

government in discovery.

      20.    Attached as Exhibit Q is an unsigned draft of a General Release and Settlement

Agreement, dated March 25, 2019, produced by the government in discovery.

      21.    Attached as Exhibit R is a Search Warrant Affidavit (without attachments), filed

in the case of United States v. Cohen, No. 18-cr-00602-WHP (S.D.N.Y.).

      22.    Attached as Exhibit S are e-mails from June 2018 between Avenatti and

members of the USAO-SDNY, produced by the government in discovery.

      23.    Attached as Exhibit T is an article in the New York Times, entitled “The

Mounting Costs of Internal Investigations,” which was referenced in a text message produced

by the government in discovery.

Dated: August 16, 2019

                                                 /s/Scott A. Srebnick
                                                 Scott A. Srebnick




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                          CERTIFICATE OF SERVICE

      I hereby certify that on August 16, 2019, I caused a true and correct copy of

the foregoing to be served by electronic means, via the Court’s CM/ECF system, on

all counsel registered to receive electronic notices.

                                        /s/Scott A. Srebnick
                                        Scott A. Srebnick




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